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                         UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA


    ROPER TECHNOLOGIES, INC.,

          Plaintiff,

    vs.                                              Case No.: 8:17-CV-1522-T-33MAP

    ANTHONY LYSENKO,                                 Dispositive Motion

         Defendant.
    ____________________________________/


                   DEFENDANT ANTHONY LYSENKO’S MOTION TO
                      DISMISS SECOND AMENDED COMPLAINT

          Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6) and Rule 3.01

   of the Local Rules for the Middle District of Florida, Defendant Anthony Lysenko

   (“Lysenko”), hereby moves this Court for an order dismissing the Second Amended

   Complaint (DE 38) filed on behalf of Plaintiff Roper Technologies, Inc. (“RTI”).



                                MEMORANDUM OF LAW

     I. PROCEDURAL & FACTUAL HISTORY

          RTI filed its initial unverified pleading against a “John Doe” defendant on June

   26, 2017. (DE 1). On October 18, 2017, RTI filed its First Amended Complaint, which

   purported to assert a claim under the federal Computer Fraud and Abuse Act, 18 U.S.C. §

   1030 (“CFAA”). (DE 10). On November 27, 2017, Lysenko moved to dismiss the First
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   Amended Complaint for failure to state a claim under CFAA. (DE 20).1 RTI filed its

   Second Amended Complaint (the “SAC”) on January 31, 2018. (DE 38).

          According to the unverified SAC, RTI stores “highly sensitive” and “confidential

   financial information, customer information, and trade secrets” in its vaguely referenced

   “computer systems,” which systems are subject to limited access, log-in credentials and

   monitoring. DE 38 at ¶ 20. RTI’s “computer systems” are allegedly used “in interstate

   commerce to conduct business in many different states.” Id. at ¶ 19. The SAC alleges that

   Lysenko, a former employee, had access to “certain” RTI’s systems during his

   employment but that his access was revoked on his termination and he was no longer

   “authorized to access” RTI’s “computer systems.” Id. at ¶¶ 21, 22. The SAC alleges that,

   beginning in or about May 20172, Lysenko “without authorization, has intentionally

   attempted to access protected computers and servers, and thereby obtain confidential and

   protected information of Roper.” Id. at ¶ 23. According to the SAC, RTI’s “information

   technology professionals observed the commencement of a large number of attempts to

   access Roper’s computer systems, including its email server, using the username ‘alys’.”

   Id. at ¶ 13. The SAC attaches a Failed Logons Report (“Failed Logons Report”) that




   1
    Lysenko served a Motion for Rule 11 Sanctions (“Sanctions Motion”) on RTI on
   December 19, 2017. (DE 33). RTI moved to amend one day before the twenty-one (21)
   day Safe Harbor period relating to the Sanctions Motion expired. (DE 32). Lysenko filed
   the Sanctions Motion on January 10, 2018. (DE 33).
   2
     According to the subpoena issued by counsel with leave of court in this case (DE 5), the
   alleged activity commenced no later than April 30, 2017. See Exhibit A (Subpoena Duces
   Tecum to Charter Communications).


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   purports to reflect numerous pairs of unsuccessful “noninteractive” log-on attempts. (DE

   38-1).

            The SAC also claims in conclusory fashion that Lysenko acted “intentionally,” id.

   at ¶¶ 23, 26, 29, “knowingly,” id. at ¶¶ 26, 29, fraudulently, id. at ¶ 28, to “gain access

   to” RTI’s “confidential information”, id. at ¶¶ 26, 28, and to advance his own personal

   interests. Id. at ¶ 26. According the SAC, the “repeated and consistent” nature of the

   activity and its termination four (4) weeks after the lawsuit was served “show that

   Lysenko knowingly and intentionally sought to access Roper’s protected computers for

   the purpose of advancing his personal interests and to use Roper’s confidential

   information for personal gain.” See id. at ¶¶ 26 and 29. In support of these various

   conclusions, the SAC relies on the Failed Logons Report. (DE 38-1).

            The SAC wraps up with the claim that “[a]s a result of Lysenko’s conduct” RTI

   has incurred “substantial damages in excess of $5,000” in less than one (1) year “in

   investigating, assessing and responding to Lysenko’s hacking attempts, payments to

   third-party information technology vendors for their services with respect to this

   investigation, assessment and response, as well as lost revenue, productivity, and other

   consequential damages” and demands judgment for damages, attorney’s fees, injunctive

   relief, and “the return or destruction of all electronic equipment used in these

   unauthorized attempts.” Id. at ¶ 30.

            The SAC neither addresses nor cures any of the defects previously challenged by

   Lysenko. The SAC fails to allege that Lysenko (a) “accessed” a computer, (b) as a result

   of which he obtained something from a computer, (c) that was in furtherance of the



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   intended fraud, and (d) that caused cognizable “loss” under the CFAA.3 Moreover, the

   SAC fails to allege any facts supporting the conclusory allegations that Lysenko acted

   “intentionally,” and “knowingly” and with the intent to defraud. Indeed, the SAC doesn’t

   even attempt to identify the confidential information supposedly sought by Lysenko or

   the computer system he allegedly attempted to “hack.” More importantly, the Failed

   Logons Report rebuts these claims, as it demonstrates only that some “non-interactive”

   process was attempting to connect with an Exchange Server using the same set of log-in

   credentials over and over, each and every time with the same result – user not known.

   (DE 38-1). The SAC fails to state a claim under the CFAA and should be dismissed with

   prejudice as it demonstrates on its face RTI’s inability to plead such a claim.

       II. ARGUMENT

           This Court’s jurisdiction is based solely on RTI’s single-count Complaint

   purporting to allege a claim under the Computer Fraud and Abuse Act, 18 U.S.C. § 1030

   (the “CFAA”). The CFAA generally prohibits accessing a computer without or in excess

   of authorization resulting in certain categories of loss or damage. See 18 U.S.C. § 1030.

         A. Applicable procedural standards

           To satisfy the pleading requirements of Rule 8 of the Federal Rules of Civil

   Procedure, a complaint must simply give the defendants fair notice of what the plaintiff’s



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    The SAC quietly eliminates prior repeated accusations that Lysenko was attempting to
   access its “online treasury management system,” which fabrications were used to violate
   Lysenko’s privacy by convincing the Court to issue subpoenas to his cable and phone
   providers and were one of the primary bases of Lysenko’s Motion for Rule 11 Sanctions.
   See DE 33. Having effectuated that purpose, RTI has now substituted more generic terms
   such as “computer systems.” See DE 38 at ¶¶ 1, 6, 10, 19, 20, 21, 26, 28.


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   claim is and the grounds upon which it rests. See, e.g., Allied Portables, LLC v. Youmans,

   2015 IER Cases 184,602, 2015 WL 3720107, at *2 (M.D. Fla. 2015). While not requiring

   “detailed factual allegations,” Rule 8 demands more than an unadorned, “the-defendant-

   unlawfully-harmed-me accusation.” Sinaltrainal v. Coca-Cola Co., 578 F.3d 1252, 1268

   (11th Cir. 2009) (citing Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009), abrogated on other

   grounds in Mohamad v. Palestinian Auth., 566 U.S. 449 (2012)). “To survive a motion to

   dismiss, a plaintiff must do more than merely ‘label’ his claims.” In re AOL, Inc. Version

   5.0 Software Litig., 168 F. Supp. 2d 1359, 1366 (S.D. Fla. 2001) (citing Blackston v.

   Alabama, 30 F.3d 117, 120 (11th Cir. 1994)); see also Allied Portables, 2015 WL

   3720107 at *6 (plaintiff’s obligation to provide the “grounds” of its entitlement to relief

   requires more than “labels, conclusions, and formulaic recitation” of the elements).

          Courts follow a two-prong approach when considering a motion to dismiss: “1)

   eliminate any allegations in the complaint that are merely legal conclusions; and 2) where

   there are well-pleaded factual allegations, ‘assume their veracity and then determine

   whether they plausibly give rise to an entitlement to relief.” American Dental Ass’n v.

   Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010) (quoting Ashcroft, 556 U.S. at 679).

   If “the plaintiff pleads factual content that allows the court to draw the reasonable

   inference that the defendant is liable for the misconduct alleged,” then the claim meets

   the “plausibility requirement,” but it requires “more than a sheer possibility” that the

   allegations are true. Id. See also Thomas Christopher Group, Inc. v. Moreno, No. 8:15–

   CV–992–T–17EAJ, 2015 WL 4139169, at *1 (M.D. Fla. Jul. 8, 2015).




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          Although a court “must accept the allegations of the complaint as true and must

   construe the facts alleged in the light most favorable to the plaintiff” when deciding a

   Rule 12(b)(6) motion to dismiss, Hunnings v. Texaco, Inc., 29 F.3d 1480, 1484 (1994),

   app. after remand, 166 F.3d 351 (11th Cir. 1998) (citation omitted), unwarranted

   deductions of fact in a complaint are not admitted as true for the purpose of testing the

   sufficiency of the allegations. Sinaltrainal, 578 F.3d at 1268 (citing Aldana v. Del Monte

   Fresh Produce, N.A., Inc., 416 F.3d 1242, 1248 (11th Cir. 2005)). “[C]onclusory

   allegations, unwarranted factual deductions or legal conclusions masquerading as facts

   will not prevent dismissal.” Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th

   Cir. 2003), cert. denied, 540 U.S. 1016 (2003) (citation omitted); see also Ashcroft, 556

   U.S at 678 (“[N]aked assertions devoid of further factual enhancement are also

   insufficient to survive a motion to dismiss”) (internal quotations omitted).

          The SAC consists entirely of regurgitated labels, conclusions unsupported by

   pleaded facts, and “a formulaic recitation” (albeit incomplete) elements of a claim. Bell

   Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). RTI has failed to plead “factual

   content that allows the court to draw the reasonable inference that the defendant is liable

   for the misconduct alleged.” Ashcroft, 556 U.S. at 678. Not only does the SAC lack

   sufficient factual allegations supporting any plausible claim for relief under the CFAA,

   on its face it negates any CFAA claim and should be dismissed pursuant to Federal Rules

   of Civil Procedure 12(b)(1) and 12(b)(6). See, e.g., In re AOL, 168 F. Supp. 2d at 1366

   (dismissal is appropriate when no construction of the factual allegations will support the

   cause of action based on a dispositive issue of law).



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       B. RTI still cannot allege elements required under CFAA

          The SAC purports to assert a single claim under CFAA, which prohibits seven (7)

   types of computer crimes involving or related to unauthorized (or exceeding

   authorization in most categories) access to computers. See 18 U.S.C. § 1030(a). As

   previously discussed, the CFAA was “‘designed to target hackers who accessed

   computers to steal information or to disrupt or destroy computer functionality, as well as

   criminals who possessed the capacity to access and control high technology processes

   vital to our everyday lives....’” Alternative Medicine Integration Group, Inc. v. Langford,

   No. 8:13-CV-2909-T-33AEP, 2013 WL 6195774, at *3 n. 1 (M.D. Fla. Nov. 19, 2013)

   (quoting Trademotion, LLC v. Intelligence Auto. Corp., 857 F. Supp. 2d 1285, 1289-90

   (M.D. Fla. 2012)).

          Although primarily a criminal statute, the CFAA authorizes private individuals

   and companies to sue for damages caused by actual violations of CFAA under limited

   circumstances: “Any person who suffers damage or loss by reason of a violation of this

   section may maintain a civil action against the violator to obtain compensatory damages

   and injunctive relief or other equitable relief.” 18 U.S.C. § 1030(g) (italics added). See

   also Coll Builders Supply, Inc. v. Velez, No. 6:17–CV–933–ORL–40DCI, 2017 WL

   4158661, at *6 (Aug. 31, 2017), report & recommendation adopted, 2017 WL 4125641

   (M.D. Fla. Sep. 18, 2017).

          The CFAA creates only a “limited private right of action,” Enhanced Recovery

   Co. v. Frady, No. 6:17–CV–933–ORL–40DCI, 2015 WL 1470852, at *11 (M.D. Fla.



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   Mar. 31, 2015), that is not coextensive with the entire statute. A civil plaintiff must allege

   not only a “violation” of CFAA, but also that it resulted in “damage or loss” and one of

   five statutory factors.4 18 U.S.C. § 1030(g). In this case, RTI must allege that Lysenko

   “violated” the CFAA and that the “violation” resulted in cognizable “loss” to RTI of at

   least $5,000 in a one (1) year period. See 18 U.S.C. §§ 1030(c)(4)(A)(i)(I), 1030(g).

   Accord Allied Portables, 2015 WL 3720107, at *3; Aquent, LLC v. Stapleton, 65 F. Supp.

   3d 1339, 1342 (M.D. Fla. 2014).

          Like its predecessors, the SAC declines to specify the substantive provision that

   Lysenko allegedly violated, alternating between references to (a) “hacking attempts,” (b)

   attempts to access RTI’s “computer systems,” (DE 38 at ¶¶ 1, 6, 13), (c) attempts to steal

   obtain Roper’s confidential information, id. at ¶23, 26, and (d) attempts to defraud and

   gain access to Roper’s confidential information. Id. at ¶28. Potentially relevant to such

   allegations are, respectively: intentionally accessing a computer without (or exceeding)

   authorization and obtaining information from a protected computer, see 18 U.S.C. §

   1030(a)(2)(C) (“data theft”), knowingly and with fraudulent intent accessing a protected

   computer and as a result obtaining value from the protected computer that furthers the

   fraud, see 18 U.S.C. § 1030(a)(4) (“fraud”), and intentionally accessing a protected

   computer and causing damage and loss. 18 U.S.C. § 1030(a)(5)(C) (“hacking”). This


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     § 1030(g) limits civil actions to those involving one of the five “factors” enumerated in
   subparagraphs (I)-(V) of § 1030(c)(4)(A)(i). Only the factor set out in subparagraph (I)
   (aggregated “loss” of at least $5,000 in one (1) year), is potentially relevant to this case.
   See 18 U.S.C. §1030(g); Aquent, 65 F. Supp. 3d at 1352 n. 4 (M.D. Fla. 2014) (“the civil
   cause of action does not need to be brought under subsection (c)(4)(A)(i), but it must
   involve conduct enumerated in those paragraphs”).



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   vagueness alone would justify dismissal of the SAC. See, e.g., Distinct Media Ltd. v Doe

   Defendants 1-50, No. 15-Cv-03312 NC, 2015 WL 13389609, at *4 (N.D. Cal. Sep. 29,

   2015) (dismissing CFAA claim for similar failure to specify relevant subsection in light

   of complexity if CFAA and requirement of fair notice). However, RTI previously

   represented to this Court that its CFAA claim was based on an alleged violation of 18

   U.S.C. § 1030(a)(4), i.e., knowingly and with fraudulent intent accessing a protected

   computer. See 18 U.S.C. § 1030(a)(4). RTI previously represented to the Court that the

   SAC does not seek to add any new claims, DE 32 at 2-3. Therefore, RTI presumably

   relies on the same “fraud” section.

          To state a civil claim based on a violation of 18 U.S.C. § 1030(a)(4), RTI must

   allege each of the following elements: (1) Lysenko accessed a protected computer, (2)

   that he lacked authorization or exceeded his authorized access to that protected computer,

   (3) that he did “knowingly” and (4) with “intent to defraud,” and (5) that as result he

   further[ed] the intended fraud, and (6) [thereby] obtained something of value, and (7) RTI

   suffered at least $5,000 in loss because of the violation in the one year period. See 18

   U.S.C. §§ 1030(a)(4) and 1030(g); see also Agilysys, Inc. v. Hall, ____ F. Supp. 3d ___,

   2017 WL 2903364, at *3 (N.D. Ga. May 25, 2017); Enhanced Recovery, 2015 WL

   1470852, at *5; Nianni, LLC v. Fox, No. 2:11–CV–118–FTM–36DNF, 2011 WL

   5357820, at *4 (M.D. Fla. Nov. 7, 2011); PharMerica, Inc. v. Arledge, No. 8:07-CV-486-

   T-26MAP, 2007 WL 865510, at *6 (M.D. Fla. Mar. 21, 2007). However, the SAC fails to

   allege any of the foregoing; in fact, it includes an exhibit that conclusively negates any

   CFAA claim by emphasizing the lack of “access” to any computer required to state a



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    claim under the CFAA as well as the lack of any behavior that could be deemed

    “knowing” or “intentional.”

           1. The SAC fails to allege that Lysenko “accessed” a protected computer

           First, the SAC fails to state claim under the CFAA because it does not and cannot

    allege that Lysenko “accessed” a protected computer. See, e.g., Maintenx Management,

    Inc. v. Lenkowski, 2015 IER Cases 175,037, 2015 WL 310543, at *3 (M.D. Fla. Jan. 26,

    2015) (failure to sufficient allege access was fatal to CFAA claim under 18 U.S.C. §

    1030(a)(4)). The various substantive offenses in CFAA, including the “fraud” subsection,

    are triggered by unauthorized access, and the civil claim provision only confers standing

    to sue a “violator” for a “violation” of CFAA. See, e.g., Agilysys, 2017 WL 2903364, at

    *6 (action can only be brought against the “violator,” e.g., the one actually accessed the

    computers); Thomas Christopher Group, 2015 WL 4139169, at *3 (complaint failed to

    allege facts showing defendant intentionally accessed computer); Davies v. Afilias Ltd.,

    293 F. Supp. 2d 1265, 1273 (M.D. Fla. 2003); Power Equip. Maintenance, Inc. v. AIRCO

    Power Servs., Inc., 953 F. Supp. 2d 1290, 1297 (S.D. Ga. 2013) (“CFAA requires that the

    individual actually access the information”); Trademotion, 857 F. Supp. 2d at 1293 (no

    allegations that either defendant accessed plaintiffs’ protected computers). Likewise, the

    Middle District of Florida observed that “none of the forms of conduct listed in §

    1030(a)(1–7) suggests that a person who does not access a plaintiff's computer, and who

    does not access any information on the plaintiff's computer, commits the offense.

    Moreover, the statute appears to create only a limited private right of action ‘against the




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    violator,’ i.e., the person who violates the statute with the requisite criminal intent. 18

    U.S.C. § 1030(g).” Enhanced Recovery, 2015 WL 1470852, at *11.5

           As noted above, the “access” requirement applies equally to CFAA “fraud”

    claims under 18 U.S.C § 1030(a)(4). See, e.g., Dresser-Rand Co. v. Jones, 957 F. Supp.

    2d 610, 614-15 (E.D. Pa. 2013) (“The Computer Fraud and Abuse Act governs activity

    that involves accessing or damaging computers. Use of the computer is integral to the

    perpetration of a fraud under the CFAA, and not merely incidental”); Role Models

    America, Inc. v. Jones, 305 F. Supp. 3d 564, 566 (D. Md. 2004) (rejecting fraud claim

    where plaintiff “has not alleged that NSU ‘accessed’ RMA's computers at all, much less

    “intentionally” or “knowingly and with intent to defraud”).

           Although the Eleventh Circuit has not interpreted the term “access,” other courts

    have construed it in accordance with both common sense and its dictionary meaning: in

    WEC Carolina Energy Solutions, LLC v. Miller, 687 F.3d 199 (4th Cir. 2012), the court

    noted that “access” means “[t]o obtain, acquire,” or “[t]o gain admission to.” Id. at 204

    (quoting Oxford English Dictionary (3d ed. 2011; online version 2012). Thus, one

    accesses a computer without authorization when “he gains admission to a computer

    without approval.” Id. See also DeSoto v. Board of Parks & Recreation, 64 F. Supp. 3d



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      RTI has accurately observed that the analysis of “access” in reported cases often focuses
    on whether one “accessed” a computer directly or through another person; that does not
    however change the requirement of “access” for a civil claim. The vast majority of
    reported civil cases under CFAA turn on the issue of whether one’s access was
    “authorized”; the undersigned has found no reported cases recognizing a civil claim
    based solely on alleged unsuccessful attempts to access a computer. Compare DeSoto, 64
    F. Supp. 3d at 1103 (rejecting CFAA claim where defendant did not “access” computing
    device).


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    1070, 1103 (M.D. Tenn. 2014) (“access” requires proceeding past a login screen and a

    defendant has not “accessed” a device without gaining admission to its contents); S.W.

    Airlines Co. v. BoardFirst, L.L.C., No. Civ. A. 06-891, 2007 WL 4823761, *12 (N. D.

    Tex. Sep. 12, 2007) (“access” means “‘to get at’ or ‘gain access to’”) (quoting Merriam-

    Webster’s Collegiate Dictionary (Webster’s) 6 (10th ed. 1998); Am. Online, Inc. v. Nat’l

    Health Care Disc., Inc., 121 F. Supp. 2d 1255, 1272-73 (N.D. Iowa 2000) (quoting

    Webster’s at 6) (“The CFAA does not define “access,” but the general definition of the

    word, as a transitive verb, is to “gain access to.” As a noun, “access,” in this context,

    means to exercise the “freedom or ability to ... make use of” something”).

           The SAC does not and cannot allege that Lysenko accessed any computer;

    instead, it relies on repetitive allegations that Lysenko “attempted” to access RTI’s

    computers, servers, or other systems. (DE 38 at ¶¶ 1, 6, 13, 14, 15, 16, 23, 24, 26, 28, 29

    & 30). However, repetition of a non-element does not cure the absence of the critical

    element itself required for standing to assert a civil claim against a “violator” who has

    been harmed by a “violation,” 18 U.S.C. § 1030(g), particularly when coupled with

    RTU’s own irrefutable evidence that no such access ever occurred. (DE 38-1). Despite

    the clear statutory language limiting civil actions to CFAA “violations,” which in turn

    require RTI to plead that Lysenko “accessed” a protected computer, RTI insists that it can

    proceed on a theory of “attempted access.” However, the CFAA does not authorize a civil

    claim for “attempting” to access a protected computer or “attempting” to violate 18

    U.S.C. § 1030(a)(4).




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           While 18 U.S.C. § 1030(b) authorizes criminal punishment of those who “attempt

    to” or “conspire to” violate CFAA as set forth in 18 U.S.C. § 1030(c), the civil claim

    provision only creates standing to sue a “violator” in favor of a victim who has suffered

    damage or loss because of a “violation.”6 18 U.S.C. § 1030(g). See Trademotion, 857 F.

    Supp. 2d at 1293. While conspiracy to violate CFAA is a separate and distinct violation

    requiring different elements7, “attempting” to violate CFAA is merely an incomplete

    violation.8 While courts have opined, some more skeptically than others, on the viability

    of even a conspiracy claim under CFAA, see, e.g., Coll Builders Supply, 2017 WL

    4158661, at *10-11; Trademotion, 857 F. Supp. 2d at 1293-94; Agilysys, 2017 WL




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     Other provisions demonstrate the intent to distinguish between actual statutory
    violations (including conspiracy) and attempts: for example, forfeiture provisions may
    only be imposed on one who has been “convicted of a violation of this section, or
    convicted of conspiracy to violate this section….” 18 U.S.C. § 1030(i) (emphasis added).
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      A conspiracy to violate a law is separate from the underlying crime and requires
    additional elements, most notably an “agreement” to commit an unlawful act. See, e.g.,
    United States v. Chandler, 388 F.3d 796, 805 (2004), on subseq. appeal, 271 Fed. Appx.
    974, rehearing denied, 284 Fed. Appx. 805 (11th Cir. 2008). What distinguishes the
    offense of conspiracy from a substantive offense, is that “agreement is the essential evil
    at which the crime of conspiracy is directed’…The agreement itself ‘remains the essential
    element of the crime’.” Id. at 806 (11th Cir. 2004) (quoting Iannelli v. United States, 420
    U.S. 770, 777 n. 10 (1975)). See also Agilysys, 2017 WL 2903364, at *6. Consequently, a
    criminal defendant could be charged and convicted of both conspiracy to violate the
    CFAA and the underling substantive violation of CFAA that is the object of the
    conspiracy.
    8
      Unlike attempt, conspiracy does not merge with the substantive offense; a conspirator
    may be punished for both. See, e.g., Pinkerton v. United States, 328 U.S. 640, 642 (1946)
    (“the commission of the substantive offense and a conspiracy to commit it are separate
    and distinct offenses”).



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    2903364 at *6; Allied Portables, 2015 WL 3720107 at *6, no reported cases have

    recognized a civil claim based on solely on “attempted” access or “attempt” generally.

           As noted above, the CFAA authorizes civil actions only against “violators” by

    those who have suffered damage or loss as a result of a “violation,” Agilysys, 2017 WL

    2903364 at *6. The plain language of CFAA does not authorize civil actions for

    “attempted violations.” The SAC, which purports to be based on the CFAA “fraud”

    subsection, 18 U.S.C. §1030(a)(4), fails to allege that Lysenko “accessed” a protected

    computer, a required element of a civil claim under 18 U.S.C. §1030(a)(4).

           2. The SAC fails to sufficiently allege the required intent

           Although the SAC formulaically intones that Lysenko attempted to access RTI’s

    computers “knowingly,” “intentionally,” “to advance his personal interests” and “to use

    Roper’s confidential information for personal gain,” (DE 38 at ¶¶ 26, 28), the facts

    pleaded in the SAC as well as the attached Failed Logons Report do not support either of

    these conclusions. See Ashcroft, 556 U.S. at 663 (“[T]he tenet that a court must accept a

    complaint’s allegations as true is inapplicable to threadbare recitals of a cause of action’s

    elements, supported by mere conclusory statements.”). According to the SAC, the

    “repeated” and “consistent” nature of the activity and its abrupt cessation after service of

    the lawsuit and appearance of counsel lead to the inescapable conclusion that the activity

    was conducted (a) knowingly, (b) intentionally, (c) to advance personal interests and (d)

    to use RTI’s confidential information for personal gain. (DE 38 at ¶¶ 26, 28).

           RTI seeks to advance this theory and impress the Court with the seriousness of its

    claims by attaching a 146-page document listing failed logons allegedly “attempted” by



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    Lysenko in his attempt to steal RTI’s confidential financial information. (DE 38-1).

    However, the Failed Logons Report supports the contrary conclusion: without exception,

    every attempt documented in the Failed Logons Report was “non-interactive”; i.e., none

    involved or required any actions or input by any user. Instead, the previously established

    credentials are used. See, e.g., J. De Clercq & G. Grillenmeier, Microsoft Windows

    Fundamentals: For Windows 2003 SP1 and R2 at 238-39 (2007). See also DE 38 at ¶14

    (RTI contacted Lysenko and indicated that someone was “attempting to access Roper’s

    computer systems through Lysenko’s login credentials;” Lysenko responded that he had

    no knowledge of such attempts). Thus, not only does the Failed Logons Report negate

    any claimed violation but it also rebuts RTI’s claims that Lysenko had any knowledge of,

    or involvement in, the alleged logon attempts, thus negating elements of “knowing” and

    “intentional” and “fraudulent” behavior.

           Without exception, every listed logon “attempt” was noninteractive, as noted

    above; each such attempt is also associated with the identical error message: “Client not

    found in Kerberos database: wrong username, or new computer/user account not

    replicated to DC yet.” (DE 38-1). The repetitive and consistent nature of the logons is

    also noteworthy: virtually all the listed 1,020 “failed logons” occurred in pairs, of which

    the overwhelming majority (918) were spaced precisely :15 or :16 seconds apart.9 The



    9
     Realizing how little this activity resembles “hacking” and how much it appears to be an
    automatic and identical process, RTI now tries to create a new and vague inference of
    impropriety, by asserting that the “activity” was “commence[d]” “in or around May
    2017” (despite its own subpoena stating that the activity started no later than April 30,
    2017) and that RTI contacted Lysenko about a contract related to third party treasury
    services also “in or around May 2017,” presumably intending to imply that such attempts


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    facts asserted by RTI do not support the conclusion that Lysenko “attempted to access”

    anything. The Failed Logons Report on its face reflects a noninteractive (i.e., no user

    input) process that, for some reason, kept repeating the same previously recognized

    credentials, over and over, receiving the same error response. (DE 38-1).

           According to RTI, this report “shows” that Lysenko, who RTI claims has

    sophisticated knowledge of electronic communications systems, intentionally and

    fraudulently attempted to “hack” into RTI’s systems from his unmasked home IP address

    by repeatedly attempting to log-in over 1,000 times with the same unrecognized user

    name and password, presumably not an adherent to the maxim that insanity is defined by

    doing the same thing over and over again while expecting a different result.10 Moreover,

    RTI would have this Court believe that Lysenko continued to deliberately attempt to

    “hack” RTI’s computers months after brazenly suggesting that RTI that trace the IP

    address to determine the source of the activity. See Exhibit C11 (Jason Conley Message to

    Lysenko referenced in SAC, DE 38 at ¶14).




    were precipitated by that inquiry, see DE 38 at ¶12, even though the communication in
    question actually took place several days later, on May 3, 2017. See Exhibit B (May 3,
    2017 David Baker Message to Anthony Lysenko referred, but not attached, to SAC)
    (previously filed with Lysenko Declaration on January 23, 2018 at DE 35-1).

    10
      The quote is sometimes attributed to genius Albert Einstein. See, e.g., Wallace v.
    Colvin, 193 F. Supp. 3d 939, 941 (W.D. Ill. 2016). However, like the conclusory
    statements in the SAC, such attribution is not supported by substantive evidence.
    11
      A copy of the June 1, 2017 message from Jason Conley was previously filed with
    Lysenko’s Declaration of January 10, 2018 at DE 33-3.



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           3. The SAC fails to allege that Lysenko “obtained anything of value” much less
           anything that furthered an “intended fraud”

           Once again, however, the SAC does not attempt to allege that Lysenko “furthered

    his intended fraud” (which likewise is not identified) or that he “obtain[ed] anything of

    value” from any protected computer as required under 18 U.S.C. § 1030(a)(4). Again,

    this is not surprising, because RTI does not and cannot allege that Lysenko accessed any

    from which he could obtain something, much less something in furtherance of a fraud.

           4. The SAC fails to allege cognizable “loss”

           Likewise, the SAC fails to sufficiently allege that RTI sustained cognizable “loss”

    as defined by the CFAA and that would exceed the $5,000 threshold, which is equally

    fatal to the CFAA claim. While damages can ordinarily be pled generally, there is no

    liability under the CFAA unless the victim can specify damages that fall within the

    statutory definitions of “damage” or “loss.” Consequently, pleading a type of damage

    within the statutory definitions is an essential element of a CFAA claim, without which

    the CFAA claims must be dismissed. See, e.g., Arko Plumbing Corp v. Rudd, Case No.

    13–cv–22434–UU, 2013 WL 12059615, at *3 (S.D. Fla. Sep. 26, 2013).

           As previously discussed, the CFAA ascribes a specific and limited meaning to the

    term “loss,” defining it as “any reasonable cost to any victim, including the cost of

    responding to an offense, conducting a damage assessment, and restoring the data,

    program, system, or information to its condition prior to the offense, and any revenue

    lost, cost incurred, or other consequential damages incurred because of interruption of

    service.” 18 U.S.C. § 1030(e)(11). Not only must RTI allege cognizable loss but that such

    cognizable “loss” meets the statutory $5,000 threshold. See 18 U.S.C. § 1030(g). See also


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    Nexans Wires S.A. v. Stark–USA, Inc., 319 F. Supp. 2d 468, 475 (S.D.N.Y. 2004) (“[T]he

    meaning of ‘loss,’ [under the CFAA] ... has consistently meant a cost of investigating or

    remedying damage to a computer, or a cost incurred because the computer's service was

    interrupted.”).

           Thus, “loss” includes two (2) separate cognizable categories: first, the “reasonable

    costs incurred in connection with such activities as responding to a violation, assessing

    the damage done, and restoring the affected data, program system, or information to its

    condition prior to the violation” and second, “any revenue lost, cost incurred, or other

    consequential damages incurred because of interruption of service.” Brown Jordan

    Internat’l, Inc. v. Carmicle, 846 F.3d 1167, 1174 (11th Cir. 2017). See also Aquent, 65 F.

    Supp. 3d at 1344-45; Klein & Heuchan, Inc. v. Costar Realty Info, Inc., No. 8:08–CV–

    1227–T–30EAJ, 2009 WL 963130 (M.D. Fla. Apr. 8, 2009). As noted earlier, only the

    alleged cognizable “loss” is included calculating whether RTI has satisfied the $5,000 in

    1-year threshold. See 18 U.S.C. § 1030(g); Aquent, 65 F. Supp. 3d at 1344.

           The SAC fails to allege cognizable “loss” as described by the Eleventh Circuit in

    Brown Jordan. First, because the SAC does not identify a CFAA violation by Lysenko,

    RTI cannot allege that it incurred any costs or expenses in any way damage caused by a

    violation. The SAC merely adds another conclusory allegation that RTI incurred “costs in

    investigating, assessing and responding to Lysenko’s hacking attempts, payment to third

    party information technology vendors for their services with respect to this investigation,

    assessment and response, as well as lost revenue, productivity, and other consequential

    damages.” DE 38 at ¶30. The only “fact” offered in of “loss” states that RTI’s IT



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    professionals “investigated, assessed, and responded to these login attempts, and

    determined, for example, that between 6/1/17 and 11/15/17 there were 1,000 attempts by

    ‘alys’ shown in attachment.” (DE 38 at ¶15). RTI relies on the Failed Logons Report

    generated November 15, 2017, long after the complaints were filed, and which reflects

    that all logons were unsuccessful. RTI does not otherwise explain how it “responded to”

    or otherwise “assessed” this activity and none of the alleged items resulted from an

    “offense.” 18 U.S.C. § 1030(e)(11). Even if RTI could point to a CFAA violation, the

    Middle District of Florida has held that while “loss” includes the “costs associated with

    investigating the scope of damage,” a CFAA plaintiff “must allege loss other than the

    consequential costs of investigating possible damage.” Skidata, Inc. v. Goudie, No. 6:12-

    cv-1612-Orl-36KRS, 2012 WL 12883836, at *3 (M.D. Fla. Dec. 19, 2012) (rejecting a

    CFAA claim based on investigative costs alone).

           In addition, none of the “consequential” cost items were “incurred because of

    interruption of service.” RTI does not allege any interruption of service, thus precluding

    costs, lost revenue, or other consequential damages in that category of “loss.” See Brown

    Jordan, 846 F.3d at 1174; Klein & Heuchan, 2009 WL 963130, at *3. Having thus failed

    to allege that RTI incurred cognizable “loss” of any amount, much less the threshold

    amount under CFAA, the SAC is defective on its face and should be dismissed under

    Rule 12(b)(6) as a matter of law.

        C. CFAA does not authorize the damages sought

           Undaunted by the complete lack of legal or factual support for its substantive

    claims, RTI boldly presses on, demanding judgment for damages, injunctive relief,



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    equipment forfeiture and/or destruction, attorney’s fees, and more. (DE 38 at ¶ 30).

    CFAA’s civil action provision states: “Any person who suffers damage or loss by reason

    of a violation of this section may maintain a civil action against the violator to obtain

    compensatory damages and injunctive relief or other equitable relief.” 18 U.S.C. §

    1030(g). The plain language does not authorize RTI to demand attorney's fees or property

    forfeiture. See 18 U.S.C. § 1030(g); see also Sun West Mortgage Co. v. Matos Flores,

    No. 15-1082 (GAG), 2016 WL 1030074 (D.P.R. Mar. 10, 2016) (legal fees and time

    spent deciding whether activity was actionable held not recoverable); Brooks v. AM

    Resorts, LLC, 954 F. Supp. 2d 331, 338 (E.D. Pa. 2013) (litigation expenses not

    recoverable); NCMIC Finance Corp. v. Artino, 638 F. Supp. 2d 1042, order modified,

    2009 WL 10669611 (S.D. Iowa Nov. 10, 2009); Wilson v. Moreau, 440 F. Supp. 2d 81

    (D.R.I. 2006), aff’d, 492 F.3d 50 (1st Cir. 2007) (attorney’s fees prosecuting CFAA action

    not recoverable).

           Moreover, the CFAA expressly and plainly limits recovery of damages involving

    claims that are based on the threshold “loss” factor in 18 U.S.C. § 1030(c)(4)(A)(i)(I) to

    economic losses. See Trademotion, 857 F. Supp. 2d at 1290; Padmanabhan v. Healey,

    159 F. Supp. 3d 220, 224 (D. Mass. 2016) (attorney fees do not qualify as “losses” under

    CFAA), aff’d, 2017 WL 3404402 (1st Cir.), cert. denied, ___ S Ct. ___, 2017 WL

    1650482 (2017). Moreover, absent an allegation of an interruption of service,

    consequential damages such as lost revenue are not recoverable. See Brown Jordan, 846

    F.3d at 1174 (“‘Loss’ includes the direct costs of responding to the violation in the first

    portion of the definition, and consequential damages resulting from interruption of



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    service in the second.”). Again, without any alleged access, RTI has not and cannot allege

    any interruption of service, which is required in the Eleventh Circuit for any

    “consequential” damages to be cognizable “losses” under the CFAA.



    III. Conclusion

           RTI has endeavored to cobble together a non-existent civil claim by casting

    various dramatic and serious accusations against a former employee to create the illusion

    of a sinister computer criminal. While incredibly disparaging of and damaging to

    Lysenko, such assertions otherwise amount at most to ineffective legal legerdemain to

    distract the Court’s attention from the glaring fact that RTI does not and cannot allege the

    elements of “access” and “loss,” both of which are critical to its CFAA claim under any

    theory. The SAC does not attempt to cure any of the fatal defects previously raised and

    adds virtually no substance whatsoever to the previous iteration, except to recharacterize

    the systems supposedly implicated. No attempt is made to supply any of the missing

    elements of the alleged “fraud” claim under §1030(a)(2), which continues to lack

    allegations that Lysenko “access” a protected computer, that in doing so he “obtained

    anything of value” and “furthered the intended fraud.”

           Conceding that it cannot demonstrate “access,” RTI offers this Court a document

    that demonstrates some 1,100 identical non-interactive failed logons, the overwhelming

    majority of which occurred in pairs at precise and repeated intervals, demonstrating

    nothing more sinister than automatic activity in which some previously recognized log-in

    credentials were contacting the system without being recognized. However, every single



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    alleged logon attempt was “non-interactive,” i.e., not involving user input, thus militating

    against the argument of a deliberate attempt to “hack” into a protected computer. That

    RTI’s IT professionals apparently cannot explain the cause of such activity does not

    militate a finding of criminal intent by Lysenko. It certainly would extend the CFAA

    beyond “its original purpose of targeting computer hackers.” Grow Financial Federal

    Credit Union v. GTE Federal Credit Union, No: 8:17-CV-1239-T-30JSS, 2017 WL

    3492707 (M.D. Fla. Aug. 15, 2017) (disapproving extension of CFAA to reach

    employees who violate computer usage policies or divulge company secrets).

           WHEREFORE, Defendant Anthony Lysenko respectfully requests that the Court

    dismiss the Second Amended Complaint with prejudice.


    Date: February 14, 2018

                                                 Respectfully submitted,

                                                 THOMAS & LOCICERO PL


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                                 CERTIFICATE OF SERVICE

           I hereby certify that, on this 14th day of February 2018, I electronically filed the

    foregoing with the Clerk of the Court by using the CM/ECF system, which will send a

    notice of electronic filing to Counsel of Record:

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